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                    DECLARATION OF BRUCE J. ELFANT

    I, Bruce J. Elfant, hereby declare as follows:

1. I am a United States citizen, a resident of Travis County, Texas, and a
registered voter.

2. I am the elected Tax Assessor-Collector for Travis County and have served in
this position for 6 years. I was first elected to this position in 2012, and have since
been reelected. My current term expires at the end of 2020. Among my duties as
Travis County’s Tax-Assessor Collector is registering voters. Texas does not have a
dual registration system. Registering to vote means registering to vote in all
elections, local, state, and federal. My office has about 160 employees, of which
about 11 work in the area of voter registration.

3. Currently, there are about 774,683 registered voters in Travis County. We
estimate that 91.98% of the persons eligible to register to vote in Travis County are
registered, the highest percentage in any urban county in Texas.

4. In connection with my duties as voter registrar for Travis County, I am an
advocate for measures that protect the right to vote and increase participation
among eligible voters. In conjunction with those measures, I also seek to ensure
that those who are not eligible to vote are not maintained on the voter registration
rolls.

5. On January 25, 2019, I received an advisory by electronic delivery from Keith
Ingram, Director of Elections at the Office of the Texas Secretary of State (“SOS”).
It was numbered Advisory No. 2019-02, with the subject stated to be “Use of Non-
U.S. Citizen Data obtained from the Department of Public Safety.” In the rest of
this declaration, I’ll refer to this advisory as the “SOS Advisory.”

6. I will not repeat here all the instructions and qualifications in the SOS
Advisory, which I understand is now a publicly-available document. It stated that
the SOS’s office had been working for approximately ten months with the Texas
Department of Public Safety (“DPS”) and had developed a list of names of people
who, in the course of obtaining a driver’s license or personal identification card, had
indicated with documentation that they were not U.S. citizens at the time of
applying for the driver’s license or personal identification. The SOS Advisory
indicated that it had performed some kind of matching of the DPS non-citizen list
with the voter registration list that is maintained on a statewide basis by the SOS.
The SOS Advisory indicated that, starting the next day (on January 26, 2019), the
SOS would develop a data set from the DPS non-citizen list and the state voter
registration list.
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7. On or about January 26, 2019, my office received a list electronically from the
SOS that purported to show the names of 4,558 people who are registered to vote in
Travis County who are shown as non-citizens according to the DPS non-citizen list
that the SOS had developed.

8. On Tuesday, January 29, 2019, I received a phone call from an official with the
SOS, who informed me that since sending out the list, the SOS had discovered that
the list provided included valid voter registration applications submitted to the
Texas Department of Public Safety by U.S. citizens. The Secretary of State did not
identify the names of the persons on the list that should be removed from it because
they were, in fact, citizens; however, the SOS did provide us with the code on these
records to help us identify them for removal from the list. Also during this call, the
SOS’s office confirmed that the list we received may include voters who were not
citizens at the time that they applied for a driver’s license but have since become
citizens. There is not a code on these records to help us identify persons who
became citizens after they applied for a driver’s license or identification card for
removal from the list. Based on the information provided by the Secretary of State,
my office identified and removed approximately 645 records that the Secretary of
State had inaccurately identified as possible non-citizens.

9. On February 1, 2019 Travis County completed an initial manual review of 993
additional voter registration records to determine if there was information that
indicated the voter registered at a naturalization ceremony in Travis or Bexar
County. As a result of that review, Travis County identified and removed
approximately 656 additional individuals who were incorrectly identified as non-
citizens on the list sent by the SOS. This means that so far, Travis County has
identified approximately 1,300 citizens, or approximately 29%, who were incorrectly
identified as non-citizens by the SOS on its original list. We are continuing to
review the records.

10. On February 1, 2019, I was further informed in writing (delivered
electronically) by the SOS that my office should undertake to check for the U.S.
citizenship status of those remaining on the SOS list before sending out what the
SOS Advisory called the Notice of Examination for Citizenship (Proof of Citizenship)
Letter (“NCE”) its advisory had suggested local registrars might decide to send out
in response to the original list.

11. Since delivery of the SOS Advisory, which was accompanied by significant
publicity and news attention starting on the day it was delivered, my office has
received numerous inquiries from those who were anticipating that they were on
the original list but should not have been because they in fact had become U.S.
citizens between the time of obtaining their DPS driver license (or identification
card) and registering to vote. They expressed concern about what the effect of being
on the list would have on their being registered to vote and able to vote in future
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elections, and they sought to ensure that they would remain eligible to, and would,
vote.

12. I and my office want to ensure that non-U.S. citizens are not on the voter
registration rolls. We also want to ensure that registering to vote by those eligible to
vote is made to be as seamless as possible, with the aim being to increase voter
registration and ultimately voting by those who are eligible as much as reasonably
possible. In response to the SOS Advisory, I will continue to work with those in my
office to ensure that all of these goals are met and that only valid, verified data
forms the basis for my office’s actions.

13. Because the information provided by the SOS is not accurate, I am concerned
about the validity of the process that has been set in motion by the SOS Advisory
and the subsequent SOS communications about flaws in the data that the SOS has
sent out. There are other codes in the Secretary of State’s data that will assist us
with sorting records in order to analyze them. However, the sorting process will
require a manual review by a member of our team. This review will allow us to
compare the dates of each action taken by the voter and view every scanned
application.

I do not know how long it will take us to complete this process. It will largely
depend on what information we are able to locate to make the comparisons and
what we find in the data. Our manual review to remove citizens from the list will
include, at a minimum, the following steps:

          o Determining if there is a valid voter registration record coded from
            DPS that was superseded by another action, such as an address
            change.
          o Determining if the voter was registered by a Volunteer Deputy
            Registrar at a naturalization ceremony in Travis County.
          o Determining if the Travis County voter was registered at a
            naturalization ceremony in Bexar County; Bexar County indicated this
            on the application forwarded to our office.
          o Determining if there are data entry errors where applicants checked
            the non-citizen box and were entered into the voter registration
            system. The Texas Secretary of State verified the voter, resulting in an
            erroneous registration.
          o Determining if there are other agencies with available citizenship
            information that can be compared to existing voter registration
            records.

In my view, it would better serve the integrity of our election system if there was,
and had been, more time and resources devoted by the SOS and those state officials
with whom the SOS works to investigating and developing a validated process for
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